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                                                                                      FIL ID
                       IN THE UNITED STATES DISTRICT COURT DEC 18 2018
                      FOR THE EASTERN DISTRICT OF KENTUCKY ATCOVINGTON
                               COVINGTON DIVISION        CLER:~'ci1tm~COURT
  ANGELA WILSON                                    }
                                                   }
         Plaintiff,                                } CASE NO. 2:17-cv-00055-DLB-CJS
                                                   }
  v.                                               }
                                                   }
  EQUIFAX INFORMATION                              }
  SERVICES, LLC et al.                             }
                                                   }
         Defendants.                               }



                              STIPULATION AND AGREED
                                  ORDER DISMISSING


         On agreement of the parties, Plaintiff Angela Wilson, Defendant Equifax Information

  Services, LLC, and TruPartner Credit Union, and the Court being otherwise sufficiently advised;

         IT IS HEREBY ORDERED as follows:

  Plaintiff's claims in the herein action are hereby DISMISSED, with prejudice. This is a final and

  appealable order.

         It is so ordered.




                                               m,
                                              1~                 signed   av=
                                                                 David L. Bunning
                                                                                    ~
                                               '\lltiiiii1~'/I   United States District udge
Case: 2:17-cv-00055-DLB-CJS Doc #: 52 Filed: 12/18/18 Page: 2 of 2 - Page ID#: 172




  AGREED TO BY:

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